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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP, an
individual, and REPRESENTATIVE RONNY
JACKSON, an individual,
                                               Case No. 2:24-cv-00236-Z
                       Plaintiffs,

      v.

PARAMOUNT GLOBAL, d/b/a
PARAMOUNT, a Delaware corporation, CBS
BROADCASTING INC., a New York
corporation, and CBS INTERACTIVE INC., a
Delaware corporation,

                       Defendants.



 DEFENDANTS MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
  DISMISS                               FOR LACK OF PERSONAL
    JURISDICTION AND IMPROPER VENUE OR, IN THE ALTERNATIVE,
                         TO TRANSFER
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       Defendants Paramount Global                    , CBS Broadcasting Inc.         , and CBS

Interactive Inc.    CBS              (together,

dismiss pursuant to Federal Rules of Civil Procedure 12(b)(2) and (b)(3) and 28 U.S.C. § 1406

or, in the alternative, to transfer to the Southern District of New York pursuant to 28 U.S.C.

§ 1404 or § 1406.

                               PRELIMINARY STATEMENT

       Plaintiff Donald J. Trump, a citizen of Florida, brings this lawsuit against three media

companies, all of which are based in New York, over an interview with former Vice President

                                                                                      New York,

and was later broadcast across the United States from New York. In a vain effort to manufacture

a connection to this District, President Trump is now nominally joined by Representative Ronny

Jackson, who, according to the Amended Complaint, has spent the majority of the last decade

based in Washington, D.C., first as physician to President Barack Obama and President Trump,



of Representatives. While Rep. Jackson is a citizen of Texas, the Amended Complaint is devoid

of any factual allegations that he watched the Face the Nation or 60 Minutes broadcasts from

Texas (or indeed, from anywhere) or suffered any injury in Texas (or indeed, anywhere else).

       Several consequences flow from these uncontroverted facts, all of which point in one

direction: this case does not belong in this Court. First, Defendants are not subject to general

jurisdiction in Texas because none of them are incorporated here or have their principal place of

business here. Second, there is no specific jurisdiction over Defendants because Defendants did

not aim the challenged Face the Nation bro                                 60 Minutes broadcast

                           at Texas residents specifically (and certainly not at Rep. Jackson



                                                  1
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specifically); film, edit, or produce the Interview at issue in Texas; or cause any cognizable

injury to Plaintiffs in Texas. Third, even if this Court had jurisdiction over Defendants, this

District is not a proper venue. None of the events relevant to the claims took place in Texas,

                           substantial part of the events . . .

§ 1391(b)(2) (emphasis added). Finally, even if Defendants were subject to jurisdiction and

venue were proper, a transfer to the Southern District of New York would still be warranted.

There is no doubt this case could have been brought in the Southern District of New York, and

that the private and public interest factors, including the convenience and availability of

witnesses, the location of evidence, and the lack of a local interest in having this case decided in

this District, weigh in favor of transfer.

                                               naked forum-shopping and either dismiss or transfer

the case.

                                             BACKGROUND

  I.        The Parties

        CBS is a New York corporation with its principal place of business in New York. ECF

No. 36 ¶ 28. It operates CBS News, which produces and airs news programs such as 60 Minutes

and Face the Nation. Id. ¶¶ 4 n.1, 34. CBS Interactive, a Delaware corporation with its principal

place of business in New York, id. ¶ 30, operates CBS News                       see Declaration of

Gayle C. Sproul                        ¶¶ 4, 7. Paramount, also a Delaware corporation with its

principal place of business in New York, is a publicly traded company that owns CBS and CBS

Interactive. See ECF No. 36 ¶ 25.



United States, resides in Washington, D.C. ECF No. 36 ¶ 23. Before that, President Trump was a



                                                   2
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businessman who claims to have

                                               Id. ¶ 53. In fact, Plaintiffs allege that President

                                                            Id. ¶ 55.

         While Representative Ronny Jackson is a citizen of Texas, he pleads that he has spent

much of the last decade in Washington, D.C., where he served as the physician of President

Barack Obama and, later, of President Trump. Id. ¶ 24. And, for the past four years, he has spent

significant time in Washington, D.C. as a member of the House of Representatives. Id.

 II.        The Interview

         In the run-up to the 2024 presidential election, CBS News 60 Minutes prepared to

interview the candidates for both major presidential parties. President Trump ultimately declined

to sit for an interview, but veteran CBS News journalist Bill Whitaker conducted an interview

with Vice President Kamala Harris, the Democratic nominee for President. Declaration of Bill

                         ¶ 6. The Interview took place in two parts: first, on October 3, 2024, on

the campaign trail in Ripon, Wisconsin, and later, on October 5, at                     residence

in Washington D.C. Id. ¶ 7 & ECF. No. 25, Ex. C (60 Minutes Broadcast) at 12:22-12:31. In

between, on October 4, Mr. Whitaker interviewed the Democratic nominee for Vice President,

Governor Tim Walz, in his home state of Minnesota. Owens Decl. ¶ 8.

         60 Minutes production staff edited the Interview, including the question and answer

around which                                           from New York. Id. ¶¶ 2, 9, 13; ECF No.

36 ¶ 85. Nearly all those staff are based in New York (none are in Texas), and the majority of 60

Minutes business records are kept in New York. Owens Decl. ¶¶ 9, 13.

         60 Minutes also made portions of the Interview available to CBS News

program, Face the Nation, which, on October 6, ran a short excerpt focused exclusively on the

Biden-                                     . Owens Decl. ¶¶ 11-12. Face the Nation is broadcast
                                                3
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largely                                                  Id. ¶ 12. On October 7, 60 Minutes

dedicated approximately 15 minutes of a special election edition of its news program to

              interview with Vice President Harris (interspersed with a few minutes of his

interview with Governor Walz). ECF No. 25, Ex. C (60 Minutes Broadcast) at 12:44-27:09 &

34:25-35:20. 60 Minutes broadcast the Interview from New York. Owens Decl. ¶ 9. None of the

CBS affiliated stations across the nation, including in Texas, played any role in the creation,

editing, or production of the Interview (which did not even air on KTXA). Id. ¶¶ 9, 12; Sproul

Decl. ¶ 12.

III.          The Amended Complaint

          On October 21, 2024, President Trump wrote CBS News, accusing it of engaging in

                         of the Interview

decisive          No. 36 at 36-2. Nowhere in that letter did President Trump raise any issues

specific to Texas or this District. Id. Instead, the letter referred generically to the alleged

                                      Id. And President Trump identified those responsible for

                                                                60 Minutes

No. 36 at 36-2    again, employees based almost exclusively in New York, with none in Texas.

Owens Decl. ¶ 13.

          Following an exchange of letters between CBS News

counsel, both based in New York, see ECF Nos. 36-3 & 36-4, President Trump filed this lawsuit

against CBS and CBS Interactive on October 31, 2024,

jurisdiction and asserting a single claim under the Texas Deceptive Trade Practices Act

                                                       . See ECF No. 1. On December 6, 2024,




                                               4
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CBS and CBS Interactive moved to dismiss the complaint, including for lack of personal

jurisdiction and improper venue. See ECF No. 23.



federal question jurisdiction, asserting a Lanham Act claim on behalf of President Trump and a

DTPA claim on behalf of President Trump and the newly added plaintiff, Rep. Jackson. See ECF

No. 36. Plaintiffs also added Paramount as a defendant. Id. As to the Lanham Act claim, the

Amended Complaint alleges that Defendants                                             and alleged



                                                                            -

                  ECF No. 36 ¶ 136, 140-41. As to the DTPA claim, Plaintiffs allege that

                                                                                                Id.

¶

editing and broadcasting of the Interview in and from New York, and provision of an excerpt of

that Interview to Face the Nation in Washington, D.C. Based on this alleged misconduct in




Trump was harmed in his capacity as a media content creator, as a presidential candidate, and as

a shareholder of Trump Media & Technology Group                                 Truth Social. E.g.,

id. ¶¶ 22, 143, 148-50, 156-58, 199 n.4. Neither President Trump nor Rep. Jackson alleges that




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they watched the FTN Broadcast or the 60 Minutes Broadcast at all, much less from Texas

specifically.1

                                       LEGAL STANDARD

        A court must dismiss an action when it lacks personal jurisdiction over the defendant. See

Fed. R. Civ. P. 12(b)(2). When a nonresident defendant moves to dismiss for lack of personal



                 Wilson v. Belin, 20 F.3d 644, 648 (5th Cir. 1994) (quoting Stuart v. Spademan, 772

F.2d 1185, 1192 (5th Cir. 1985)). The plaintiff meets                                        prima

facie                                              Quick Techs., Inc. v. Sage Grp. PLC, 313 F.3d

338, 343 (5th Cir. 2002), cert. denied, 124 S. Ct. 66 (2003).              -facie-case requirement

                                                                                            Panda

Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 869 (5th Cir. 2001) (per curiam).

If the plaintiff makes that prima facie showing, the burden shifts to the defendant to show that



                        Freudensprung v. Offshore Tech. Servs., Inc., 379 F.3d 327, 343 (5th Cir.

2004) (citation omitted).

                                                                             Wyatt v. Kaplan, 686




1
 In fact, that weekend, on October 5, 2024, President Trump and Rep. Jackson were at a rally in
Pennsylvania; on October 6, President Trump was in Wisconsin; and on October 7, President
Trump was in New York and Florida. See President Donald J. Trump to Hold a Rally in Juneau,
Wisconsin, Trump Vance, https://www.donaldjtrump.com/news/955f7f6b-9840-457c-ab61-
69864644ebdc (last visited Mar. 3, 2025); President Trump to be Joined by Special Guests at
Butler, Pennsylvania Rally, Trump Vance, https://www.donaldjtrump.com/news/eb6d1823-
9246-4f97-9c4f-98d794e1c528 (last visited Mar. 3, 2025); Trump Campaign Statement on
October 7 Anniversary, Trump Vance, https://www.donaldjtrump.com/news/5bbc8403-2a92-
4370-b0e3-45a9513b7533 (last visited Mar. 3, 2025).


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F.2d 276, 283 n.13 (5th Cir. 1982) (citation omitted)

effect that their contacts with Texas have been extremely limited and do not relate to the present



jurisdiction is not permitted. Id.

         Rule 12(b)(3) allows a case to be dismissed for improper venue. When a defendant raises

improper venue, the plaintiff bears the burden of establishing that the chosen venue is proper.

See, e.g., Clemons v. WPRJ, LLC, 928 F. Supp. 2d 885, 897 (S.D. Tex. 2013).

                                          ARGUMENT

    I.       The Amended Complaint Fails To Plead Personal Jurisdiction.




Shoe Co. v. Washington, 326 U.S. 310, 316-17 (1945) (citation omitted). Here, Plaintiffs have

not alleged facts to support the exercise of jurisdiction over any Defendant. 2

         C

personal jurisdiction in Texas.                      Courts may exercise general jurisdiction over a

defendant corporation that has not consented to suit in the forum

                               i.e.,

Daimler AG v. Bauman, 571 U.S. 117, 137 (2014) (citation omitted); accord, e.g., Monkton Ins.




2
  Specific jurisdiction is a claim-specific inquiry. See, e.g., Seiferth v. Helicopteros Atuneros,
Inc., 472 F.3d 266, 275 (5th Cir. 2006).
                                                                                  -by-
Bavikatte v. Polar Latitudes, Inc., 2015 WL 8489997, at *3 (W.D. Tex. Dec. 8, 2015) (citation
omitted).


                                                 7
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Servs., Ltd. v. Ritter, 768 F.3d 429, 432-33 (5th Cir. 2014). Plaintiffs rightly plead that CBS is a

New York corporation, CBS Interactive and Paramount are Delaware corporations, and all three

have their principal place of business in New York. ECF No. 36 ¶¶ 25, 28, 30. The presence of

in-state subsidiaries or affiliates does not give rise to general jurisdiction. See Daimler, 571 U.S.



they have an in-                                    Hargrave v. Fibreboard Corp., 710 F.2d 1154,

                                              corporation is not subject to the jurisdiction of a forum

                                                                                As such, none of the

Defendants is subject to general jurisdiction in Texas.

       Defendants also are not subject to specific jurisdiction in Texas. Plaintiffs

long-arm statute, ECF No. 36 ¶¶ 50-51, which                            to the limits of federal due

process Bulkley & Assocs., LLC

of the State of Cal., 1 F.4th 346, 351 (5th Cir. 2021) (citation omitted). Whether the exercise of

jurisdiction comports with federal due process involves three questions, all of which must be

                                                              Id.

       First, the defendant                 purposely directed its activities toward the forum state or

purposefully availed itself of the privileges of conducting activities there. Id. (citation omitted).



              that is, their suit-related                                               more than at

residents of other states   Johnson v. TheHuffingtonPost.com, Inc., 21 F.4th 314, 318 (5th Cir.

2021) (emphasis added); see also, e.g., Nunes v. NBCUniversal Media, LLC, 582 F. Supp. 3d



                                                        news report was directed at Texas viewers as



                                                    8
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                                                        Revell v. Lidov, 317 F.3d 467, 473 (5th Cir.

2002)). Second                                                                              -related

           Bulkley

forum and the underlying controversy, principally, an activity or occurrence that takes place in

                                                                       Bristol-Myers Squibb Co. v.

Super. Ct. of Cal., 582 U.S. 255, 262 (2017) (internal quotation marks, citation, and alterations

omitted); see Walden v. Fiore, 571 U.S. 277, 283 n.6 (2014) (noting that specific jurisdiction is

                          -                                  any

                                                           only those that

      Johnson, 21 F.4th at 325 (emphasis in original) (citation omitted). Finally, the exercise of

                                                      Bulkley, 1 F.4th at 351.



subject to specific jurisdiction, ECF No. 36 ¶¶ 46-51, jurisdiction must be established as to each

defendant individually. See, e.g., Bristol-Myers Squibb, 585 U.S. at 268. Here, the requirements

for specific jurisdiction are not satisfied with respect to any Defendant.

           a. CBS Broadcasting Inc. and CBS Interactive Inc.

       CBS broadcasts a wide variety of programming, including the news shows Face the

Nation and 60 Minutes.3 CBS Interactive




3
  President Trump alleges that Paramount and CBS Interactive have a registered agent for service
in Texas, through which they were served, and that all Defendants may be served through the
Texas Secretary of State. (CBS registered agent for service is in New York, where it was in fact
served). See ECF No. 1 ¶¶ 19, 21; ECF Nos. 6 & 7. The ability to serve Defendants in Texas has
no bearing on the jurisdiction analysis. See Wenche Siemer v. Learjet Acquisition Corp., 966
F.2d 179, 182 (5th Cir. 1992) (holding that
                                           is insufficient to establish jurisdiction).


                                                  9
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including Paramount+, through which the FTN and 60 Minutes Broadcasts (together,

                were made available for streaming online. ECF No. 36 ¶¶ 34, 77.

        As to the purposeful availment requirement, simply broadcasting in Texas      as CBS does

across the United States, see Sproul Decl. ¶¶ 9, 11   is not sufficient. See Nunes, 582 F. Supp. 3d

at 398; Immanuel v. Cable News Network, Inc., 2022 WL 1748252, at *4 (E.D. Tex. May 31,

2022); Butowsky v. Gottlieb, 2020 WL 5757223, at *4 (E.D. Tex. Sept. 28, 2020).4 Plaintiffs

conspicuously do not and cannot allege that either CBS or CBS Interactive directed the

challenged Broadcasts                                                        Johnson, 21 F.4th at

318. They allege that Dallas/Ft. Worth is

market in the United States, ECF No. 36 ¶ 52, tacitly conceding that                   audience is

principally outside Texas.5                                                        CBS and CBS

Interactive s

media . . .                                                     and 60 Minutes Broadcasts, like

                                                                             not just to Texans



152. As courts in this Circuit have routinely held, making a product or service available

nationwide does not establish the minimum contacts necessary for personal jurisdiction. See

Shambaugh & Son, L.P. v. Steadfast Ins. Co., 91 F.4th 364, 374 (5th Cir. 2024) (rejecting a




4
  With regard to the jurisdiction analysis, this Court is bound by Fifth Circuit precedent, not
Texas Supreme Court decisions. Butowsky, 2020 WL 5757223, at *4; see also Kuykendall v.
Amazon Studios LLC, 2022 WL 19337992, at *8 (S.D. Tex. Mar. 18, 2022).
5
  Indeed, according to that same ranking cited in the Amended Complaint, New York, where this
case should have been brought (if anywhere), represents the largest television market in the
country. See ECF No. 36 ¶ 52, Nexstar Media Group, Inc., https://www.nexstar.tv/stations/ (last
visited Mar. 3, 2025).


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                                                                 Baird v. Shagdarsuren, 426 F.

Supp. 3d 284, 290 (N.D. Tex. 2019) (similar); Mink v. AAAA Dev. L.L.C., 190 F.3d 333, 336-37

(5th Cir. 1999) (promotion nationally and on the Internet insufficient for specific jurisdiction);

Singletary v. B.R.X., Inc., 828 F.2d 1135, 1136-37 (5th Cir. 1987) (advertising nationally



law ) (citing Growden v. Ed Bowlin & Assocs., 733 F.2d 1149, 1152 (5th Cir. 1984)).

       The second requirement for specific jurisdiction is also not met here and confirms the

                                                           :I

court looks only                                                        .   Kuykendall, 2022 WL

19337992, at *2 (quoting Revell, 317 F.3d at 472) (emphasis added). For that reason, allegations

                                                                                       ; that CBS



                                                                      , id. ¶¶ 35, 48; or that CBS

              Paramount+                                                       id. ¶ 34, are of no

moment. See, e.g., Revell, 371 F.3d at 471 (no personal jurisdiction even though there were

subscribers to the publication in the forum state); Pontchartrain Mortg. Corp. v. Mortg. Asset

Rsch. Inst., Inc., 2004 WL 137590, at *2 (E.D. La. Jan. 20, 2004) (no personal jurisdiction even

                                                            the forum state). Rather, the critical

question is where the allegedly actionable conduct occurred.

                                                            relevant to either claim. First Metro.

Church of Hous. v. Genesis Grp.                                                (per curiam). The

Interview that is the subject of the Amended Complaint was not alleged to have been filmed or



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edited in Texas. Nor was Texas in any way the subject of the Interview, which was focused on

the national presidential election. The challenged portion of the Interview, which discussed U.S.

foreign policy related to Israel and Gaza, did not mention Texas (nor did the rest of the

Interview). See Revell, 317 F.3d at 474 n.48 (personal jurisdiction requires, inter alia

                                                And neither President Trump nor Rep. Jackson

even alleges that they watched the Broadcasts from Texas when they aired on October 6 and

October 7, respectively, or that they watched the Broadcasts on Paramount+ using an account

registered in Texas. See Pace v. Cirrus Design Corp., 93 F.4th 879, 902 (5th Cir. 2024)

                                                                    defendant, the forum, and the

litigation

                                                    Accordingly, whether the Lanham Act and

DTPA claims allege that CBS misrepresented                  positions and therefore constituted

election interference or that CBS misrepresented its own services and somehow induced viewers

to enter into a transaction to watch 60 Minutes instead of reading Truth Social posts by airing

purportedly                             ,   e.g., ECF No. 36 ¶¶ 78, 83, 119, those alleged

misrepresentations were not made in or directed at Texas. See, e.g., Ecigrusa LLC v. Silver State

Trading LLC, 2022 WL 1321573, at *10 (N.D. Tex. May 3, 2022) (no specific jurisdiction for

DTPA claim); Iwasaki v. P&G Rare Violins, Inc., 2025 WL 36164, at *3 (N.D. Tex. Jan. 6,

2025) (same); ADT, LLC v. Cap. Connect, Inc., 2015 WL 7352199, at *5 (N.D. Tex. Nov. 20,

2015) (no specific jurisdiction for Lanham Act claim based on alleged misrepresentations);

AllChem Performance Prods, Inc. v. Aqualine Warehouse, LLC, 878 F. Supp. 2d 779, 793 (S.D.

Tex. 2012) (no specific jurisdiction for Lanham Act claim where complaint did not allege

                                                    ).



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       Finally, the exercise of personal jurisdiction over CBS or CBS Interactive, which had




system of federalism. Johnson, 21 F.4th at 320, 322 (quoting Ford Motor Co. v. Mont. Eighth

Jud. Dist. Ct., 592 U.S. 351, 360 (2021)).

       Notably, courts in this Circuit have repeatedly rejected arguments that publishing or

broadcasting nationally, including in Texas, subjects a defendant to specific jurisdiction for

claims arising from those publications or broadcasts. For example, the Fifth Circuit has

repeatedly dismissed defamation claims based on lack of personal jurisdiction where



                                                 Clemens v. McNamee, 615 F.3d 374, 380 (5th

Cir. 2010); see Revell, 317 F.3d at 427 (no specific jurisdiction where Texas was

                                               ) (citation omitted); Johnson, 21 F.4th at 319 (no



Herman v. Cataphora, Inc., 730 F.3d 460, 465 (5th Cir. 2013) (no specific jurisdiction because

online statements did not focus on Texas). 6 And district courts in Texas have found no specific

jurisdiction over broadcasters (

                          ) when



6
  Indeed, the Fifth Circuit has found no personal jurisdiction even where the allegedly defamed
plaintiff lived in Texas and therefore unlike here the brunt of any harm was felt in the state.
Johnson, 21 F.4th at 319. Here, President Trump the sole plaintiff on the Lanham Act claim
and the sole plaintiff to allege any theory of injury on the DTPA claim is not a Texas resident.
Rep. Jackson does not allege that he viewed the Broadcasts in Texas, subscribed to any CBS
services in Texas, or suffered any specific harm on the DTPA claim. See PPG Indus. v.
JMB/Hous.
of damages to the individual plaintiff under the DTPA).


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forum,                                                                     and did not otherwise

                                     Nunes, 582 F. Supp. 3d at 395, 399; Immanuel, 2022 WL

1748252, at *5. As the court explained in Nunes, another case in which a political figure

challenged a New York-based broadcaster:

         [Plaintiff Devin] Nunes asks this Court to hale NBCU into Texas because some of his
         Texas supporters may have viewed the nationally-broadcast Report. But those views if
         they exist
         Texas. Accordingly, forcing NBCU, a non-resident of Texas, to defend a lawsuit brought
         here by another non-resident would impose an unjustified and unconstitutional burden on
         NBCU.

582 F. Supp. 3d at 401 (internal citations and quotation marks omitted). So too, here, Plaintiffs

seek to hale Defendants into this Texas court simply because some potential Trump donors or

supporters in Texas, or some readers of Truth Social, may have viewed the nationally-broadcast

60 Minutes election special. Because Plaintiffs cannot show that the challenged broadcasts were



                             ,                           lies, and forcing Defendants to defend

themselves in Texas imposes                                                 Immanuel, 2022 WL

1748252, at *5; Nunes, 582 F. Supp. 3d at 399, 401.

            b. Paramount Global

         This Court also lacks jurisdiction over Paramount



Plaintiffs make                              -related conduct, Walden, 571 U.S. at 284. Indeed,

Plaintiffs do not allege that Paramount had any involvement whatsoever in the editing or

broadcasting of the Interview, and instead seek to premise jurisdiction over Paramount on its

relationships with other entities. In particular

Broadcasting and CBS Interactive,                     , that Paramount


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owns Dallas/Fort Worth stations KTVT and KTXA, 7 id. ¶¶ 37, 39, 40, and that Defendants

                                    (but do not own) Amarillo-based affiliate station KFDA, id.

¶¶ 41, 46. Yet, Plaintiffs do not allege that any of these Texas stations had anything to do with

the creation, editing, or production of the Interview.8 And Plaintiffs do not name the Texas

stations as parties.

                                                      Diece-Lisa Indus., Inc. v. Disney Enters., Inc.,

943 F.3d 239, 252 (5th Cir. 2019). Even a direct               -

                                                                        Dalton v. R&W Marine Inc.,

897 F.2d 1359, 1363 (5th Cir. 1990). And KFDA, which Defendants are alleged only to

                                                                    See Freudensprung, 379 F.3d at



based solely upon the contacts with the forum state of another corporate entity with which the



          Because the exercise of

where defendants . . .               ,   Johnson, 21 F.4th at 324, this action should be dismissed

pursuant to Federal Rule of Civil Procedure 12(b)(2).

    II.      This Case Should Be Dismissed On Grounds Of Improper Venue

          Separate and apart from jurisdiction, this action is subject to dismissal in full under

Federal Rule of Civil Procedure 12(b)(3) because the Northern District of Texas is not a proper



7
  KTVT, also known as CBS Stations Group of Texas LLC, has one member, CBS International
Inc., in which CBS indirectly owns a minority stake. KTXA is owned by KTXA Inc., in which
CBS also indirectly owns a minority stake. Paramount is the ultimate owner of all the entities
with an interest in CBS Stations Group of Texas LLC or in KTXA Inc. See Sproul Decl. ¶ 10.
8
  In fact, KTXA did not even air either the FTN Broadcast or the 60 Minutes Broadcast. See
Sproul Decl. ¶ 12.


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venue.

is proper;

              Primoris T&D Servs., LLC v. MasTec, Inc., 2023 WL 3400525, at *1-2 (N.D. Tex.

May 11, 2023) (Pittman, J.). Plaintiffs contend that venue is proper under 28 U.S.C. § 1391(b)(2)

and (b)(3). See ECF No. 36 ¶ 52. Those provisions state that venue is proper in:

         (2) a judicial district in which a substantial part of the events or omissions giving rise to
             the claim occurred, or a substantial part of property that is the subject of the action is
             situated; or

         (3) if there is no district in which an action may otherwise be brought as provided in this

             jurisdiction with respect to such action.

28 U.S.C. § 1391(b)(2)-(3).

                    assertion that venue is proper under Section 1391(b)(3) can be readily disposed

of since this action could easily have been brought in the Southern District of New York, where

all three Defendants have their principal place of business.

         Venue under Section 1391(b)(2) also fails. To establish venue under this provision, courts

                                                                            rather than focusing on the

activities of the plaintiff. Russo v. Barnard, 2021 WL 5567380, at *2 (S.D. Tex. Nov. 29, 2021)




                   Id. (citation omitted); accord, e.g., Lalla v. G&H Towing Co., 2019 WL

11626516, at *3 (W.D. Tex. July 26, 2019). 9 Only




9
 Even if             activities were relevant to the venue analysis, which they are not, the
Amended Complaint does not allege that either President Trump or Rep. Jackson watched the
Broadcasts while in Texas. See supra note 1.


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                                                                       Jerger v. D&M Leasing

Dall., 2020 WL 4335733, at *3 (E.D. Tex. July 28, 2020). The fact that Plaintiffs have asserted a

claim under Texas law also has no bearing on the venue analysis. See, e.g., Sanders v. Polaris

Indus., Inc.



       Plaintiffs do

giving rise to the claim[s]    occurred in the Northern District of Texas. See 28 U.S.C.

§ 1391(b)(2). The events giving rise to the claims occurred in Washington D.C.        where the

Interview with Vice President Harris took place, 10 where Face the Nation is largely edited and

produced, and from where Face the Nation is broadcast     and in New York     where Defendants

have their principal place of business, where the 60 Minutes news report featuring the Interview

was edited and produced, and from where 60 Minutes is broadcast. See Owens Decl. ¶¶ 7, 9. The

Amended Complaint does not allege that the Interview was filmed in Texas, that any editing

decisions with respect to the Interview were made in Texas, or that the Interview concerned or

even referenced Texas.



Northern District of Texas is the proper venue for this case. For example, Plaintiffs state that



                                                                            Paramount+ and on

YouTube

                                                                           Texas stations KTVT



10
  Vice President Harris was also interviewed by Whitaker in Wisconsin on the campaign trail,
though Plaintiffs make no allegations about any specific portions of the Interview filmed there.


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and KFDA, id., is not sufficient to confer venue. Texas courts have repeatedly held that



Munro v. Lucy Activewear, Inc., 2016 WL 4257750, at *5 (W.D. Tex. Jan. 14, 2016); see also,

e.g., Nunes, 582 F. Supp. 3d at 397, 399 (finding venue in Texas improper where challenged

                                                                  [I]

omitted); Immanuel, 2022 WL 1748252, at *5-6 (same); Nuttall v. Juarez, 984 F. Supp. 2d 637,




internet alone would make venue proper in any district in the United States, or indeed, anywhere



                                                                                              , 2011



top three media markets nationwide, see ECF No. 36 ¶ 52, and that Defendants conduct business

                                                      id. ¶ 44, only underscores that Texas has no

particularized relationship to the Broadcasts at issue.

       Plaintiffs also assert conclusorily that the local non-party station

                                                                 ECF No. 36 ¶ 44, but tellingly fail

to identify a single such employee or what possible knowledge they would have. That is because

there are none; the individuals most knowledgeable about the Interview are all located in New

York or Washington D.C. Owens Decl. ¶ 13.

       President Trump knows well that he cannot simply select his preferred jurisdiction when

that jurisdiction bears little or no relationship to the events giving rise to his claim. In Trump v.

Simon & Schuster Inc. et al., the Northern District of Florida held that it was not a proper venue



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under Section 1391(b)     even though President Trump had asserted a claim under Florida

equivalent to the DTPA



districts exist in which Trump could have properly filed his claims, such as the United States

District Court for the Southern District of New York where two Defendants reside and many

relevant decisions regarding The Trump Tapes

Aug. 4, 2023). There, like here, President Trump argued that venue existed because there were

nationwide marketing and sales in the district of the relevant editorial work. But the court

rejected that argument, noting that only the D                          that directly give rise to a

claim are relevant.   Id. at *4 (emphasis in original) (quoting Robey v. JP Morgan Chase Bank

N.A., 343 F. Supp. 3d 1304, 1314 (S.D. Fla. 2018)). For the same reasons, venue here is

improper.

       Because venue is improper in this District, dismissal is warranted under Federal Rule of

Civil Procedure 12(b)(3). At a minimum, the case should be transferred to the Southern District

of New York under 28 U.S.C. § 1406(a).

III.        In The Alternative, This Case Should Be Transferred To The Southern District
            Of New York Under 28 U.S.C. § 1404(a)

       Even if the Court were to conclude that both the exercise of personal jurisdiction and

venue are proper, this case should be transferred to the Southern District of New York. 28 U.S.C.

§ 1404(a), which            the doctrine of forum non conveniens for the subset of cases in which

                                                          Atl. Marine Constr. Co. v. U.S. Dist. Ct.

for the W. Dist. of Tex., 571 U.S. 49, 60 (2013)                                              Piper

Aircraft Co. v. Reyno, 454 U.S. 235, 254 (1981). It gives district courts the discretion to




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convenience of parties and witnesses, in the interest of justice. 28 U.S.C. § 1404(a). Although

                                                        some weight, whe

                                                           as is the case here,           choice of

forum is                                   Miller v. Kevin Gros Marine, Inc., 2006 WL 1061919,

at *3 (S.D. Tex. Apr. 20, 2006); see Simon & Schuster, 2023 WL 5000572, at *7 (

choice of forum in [this District] (which is neither his home district nor where the operative

                                             ).

       In deciding whether to transfer a case, the Court first must determine whether the

proposed transferee forum is one where the case could have initially been brought. See In re

Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004) (per curiam). Here, that threshold

requirement is easily satisfied. The case could have been brought in New York, where all

Defendants have their principal place of business, and where the editing decisions at issue were

made and executed. See, e.g., Child.    Health Def. v. WP Co., 2023 WL 3940446, at *3 (N.D.

Tex. May 12, 2023) (Kacsmaryk, J.) (case could have been brought in the Southern District of

New York when

                                                            ; Nunes, 582 F. Supp. 3d at 404 (case




                                                                                      there).

       Next, the Court must weigh a series of private interest and public interest factors and

order that the case be transferred if the transferee forum

current forum. In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc). Both

the private and public interest factors weigh overwhelmingly in favor of transfer here.



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compulsory process for the attendance of unwilling witnesses; (3) the cost of willing witnesses

attendance; (4) if relevant, the possibility of a view of premises; and (5) all other factors that

                                                   DTEX, LLC v. BBVA Bancomer, S.A., 508 F.3d

785, 798 (5th Cir. 2007) (per curiam).

a matter and a proposed venue under § 1404(a) is more than 100 miles, the factor of

inconvenience to witnesses increases in direct relationship to the additional distance to be

             In re Volkswagen AG, 371 F.3d at 204-05.

         Here, the relevant evidence is in the Southern District of New York. 11 In fact, Plaintiffs

have already served 339 document requests on Defendants, none of which mentions Texas.

Virtually all of the CBS producers, journalists, and editors who may be expected to be witnesses

in this case     including 60 Minutes executive producer Bill Owens, 60 Minutes executive editor

Tanya Simon, and CBS News correspondent Bill Whitaker, whose records are the focus of

                                   are based in New York. See Owens Decl. ¶ 13 (identifying

specific individuals most knowledgeable about the Interview, all but one of whom work in New

York); cf. Utah v. Walsh, 2023 WL 2663256, at *4 (N.D. Tex. Mar. 28, 2023) (Kacsmaryk, J.)



district . . .                                 . Those witnesses would each testify to their roles in

the production and editing of the Interview. Forcing all these witnesses to travel to the Northern




11




                                                                         Qualls v. Prewett Enters.,
Inc., 594 F. Supp. 3d 813, 823 (S.D. Tex. 2022) (citations omitted).


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District of Texas would impose significant and unnecessary costs and other practical problems.

In re Volkswagen of Am., 545 F.3d at 315; see Owens Decl. ¶ 14 (forcing key witnesses to travel

                                           would seriously undermine their ability to gather and

report the news in the regular course by pulling them away from shoots, assignments, and other

production-                  President Trump also is not in Texas, and both he and Rep. Jackson

reside much of the time in Washington D.C., a short distance from New York. See Child.

Health Def., 2023 WL 3940446, at *3 (transfer favored where                           are much closer

                                                           Accordingly, the private interest factors

heavily favor transfer to the Southern District of New York.

       The public interest factors equally favor transfer.

administrative difficulties flowing from court congestion; (ii) the local interest in having

localized controversies resolved at home; (iii) the interest in having the trial of a diversity case in

a forum that is familiar with the law that must govern the action; (iv) the avoidance of

unnecessary problems in conflicts of law, or in application of foreign law; and (v) the unfairness

                                                                DTEX, 508 F.3d at 802.

       F

interpretations of the statistics can produce different conclusions about the relative workloads of

                        Coleman v. Brozen, 2020 WL 2200220, at *7 (E.D. Tex. May 6, 2020),

the Southern District of New York has a median time of filing to disposition of 5.9 months,

while the Northern District of Texas has a median time of filing to disposition of 30.2 months. 12




12
   See Federal Judicial Caseload Statistics 2023 Tables           Median Time From Filing to
Disposition of Civil Cases by Action Taken, https://www.uscourts.gov/statistics-reports/federal-
judicial-caseload-statistics-2023-tables (last visited Mar. 3, 2025). Of course, the District-wide


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media, Kinsey v. N.Y. Times Co., 991 F.3d 171, 178 (2d Cir. 2021)

interest in the resolution of this case                                       Child.               ,

2023 WL 3940446, at *3. That President Trump alleges a violation of a Texas statute is of no

moment: A

applying the laws of other jurisdictions, transfer is not necessarily favored or disfavored due to

                                          Qualls, 594 F. Supp. 3d at 826; see also, e.g., ExpressJet

Airlines, Inc. v. RBC Cap. Mkts. Corp., 2009 WL 2244468, at *13 (S.D. Tex. July 27, 2009)



law in resolving . . .                                                                       [ould]

                                                        Indeed, the Southern District of New York

has ample experience adjudicating Texas DTPA claims. See, e.g., Blake Marine Grp., LLC v.

Frenkel & Co., 439 F. Supp. 3d 249, 254 (S.D.N.Y. 2020); In re Gen. Motors LLC Ignition

Switch Litig., 257 F. Supp. 3d 372, 449 (S.D.N.Y. 2017); English v. Danone N. Am. Pub. Benefit

Corp., 678 F. Supp. 3d 529, 537 (S.D.N.Y. 2023). No conflict of law or foreign law issues are

present so that factor is neutral. Finally, given the absence of any nexus between the challenged

conduct and the Northern District of Texas, it would be unfair to burden the citizens of Amarillo

with jury duty in this case.

        For all of these reasons, the public and private factors weigh strongly in favor of

transferring this case to the Southern District of New York.




median times, as set forth in the Judicial Caseload Statistics, do not reflect median times by
Division or by individual judge.


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                                        CONCLUSION

       For the foregoing reasons, this Court should dismiss Plaintiffs Amended Complaint with

prejudice pursuant to Federal Rule of Civil Procedure 12(b)(2) or 12(b)(3) or, in the alternative,

transfer this case to the Southern District of New York.




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Respectfully submitted,


                                        /s/ Thomas C. Riney

                                        UNDERWOOD LAW FIRM, P.C.

                                        Thomas C. Riney
                                        State Bar No. 16935100
                                        C. Jason Fenton
                                        State Bar No. 24087505
                                        PO Box 9158 (79105-9158)
                                        500 S. Taylor, Suite 1200
                                        Amarillo, TX 79101
                                        Telephone: (806) 376-5613
                                        Facsimile: (806) 379-0316
                                        tom.riney@uwlaw.com
                                        jason.fenton@uwlaw.com

                                        JACKSON WALKER LLP

                                        Marc A. Fuller
                                        State Bar No. 24032210
                                        2323 Ross Ave., Ste. 600
                                        Dallas, TX 75201
                                        Telephone: (214) 953-6000
                                        Facsimile: (214) 953-5822
                                        mfuller@jw.com

                                        DAVIS WRIGHT TREMAINE LLP

                                        Elizabeth A. McNamara (admitted pro hac vice)
                                        Jeremy A. Chase (admitted pro hac vice)
                                        Alexandra Perloff-Giles (admitted pro hac vice)
                                        1251 Avenue of the Americas, 21st Floor
                                        New York, NY 10020
                                        Telephone: (212) 489-8230
                                        elizabethmcnamara@dwt.com
                                        jeremychase@dwt.com
                                        alexandraperloffgiles@dwt.com

                                        Attorneys for Paramount Global, CBS Broadcasting
                                        Inc., and CBS Interactive Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2025 a true and correct copy of the foregoing was

served via CM/ECF on all counsel of record.


                                              /s/ Thomas C. Riney
